Case 3:16-po0-00891-NLS Document1 Filed 04/19/16 PagelD.1 Page 1 of 1

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United States District Court STATEMENT OF PROBABLE CAUSE

 

 

 

 

 

 

 

 

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